Case 3:19-cv-02257-JAH-KSC Document 37 Filed 12/24/21 PageID.207 Page 1 of 4



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 8   Attorneys.for Defenaant John Chau, MD.
 9
10                      INTHE UNITED STATES DISTRICT COURT
11                  FOR THE SOUTHERN DISTRICT OF CALJFORNIA
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14   EARLEUGENEHAYNES,                               3: 19-cv-02257-JAH-KSC
15                                    Plaintiff, JOINT MOTION FOR DISMISSAL
16                v.                                 Dept:     13B
                                                     Judge:    Hon. John A. Houston
17                                                   Filea:    11/25/2019
18   DR. JOHN CHOW, PHYSICIAN &
     SURGEON; DR. D. ROBERTS,
19   CHIEF MEDICAL EXECUTIVE;
     SGT. M. ARTEGA,
20   CORRECTIONAL SERGEANT,
21                                  Defendants
22
          On November 2, 2021, the parties agreed to settle this case. Pursuant to Rule
23
     41 of the Federal Rules of Civil Procedure and this Court's Order Confirming
24
     resolution of this case (ECF No. 36), Plaintiff, Earl Eugene Haynes hereby
25
     voluntarily dismisses, with prejudice, the entire action, with the parties to bear their
26
     own respective costs and fees.
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                                                 1
                                                                    Joint Motion for Dismissal
Case 3:19-cv-02257-JAH-KSC Document 37 Filed 12/24/21 PageID.208 Page 2 of 4



 1           Accordingly, the parties request that the Court enter the proposed Order
 2   dismissing this case with prejudice.
 3
 4   Dated: December 8, 2021                         Respectfully Submitted,
 5                                                   ROBBONTA
                                                     Attorney General of California
 6                                                   RICHARD F. WOLFE
                                                     Supervising Deputy Attorney General
 7
 8
                                                     s/ PJ Lucca
 9                                                   PJLUCCA
                                                     Deputy Attorney General
10                                                   Attorneys for Defendant
                                                     John Chau, MI5.
11
12
13   Dated: December <r , 2021
                                                      r/ad~ze~
                                                     EARL EUGENE HAYNES, PRO SE
14    /




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16                                                   By: /s/ Earl Eugene Haynes,
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                                                 2
                                                                    Joint Motion for Dismissal
Case 3:19-cv-02257-JAH-KSC Document 37 Filed 12/24/21 PageID.209 Page 3 of 4



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 3
 4                     IN THE UNITED STATES DISTRICT COURT
 5                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 6
 7
 8   EARL EUGENE HAYNES,                            3:19-cv-02257-JAH-KSC
 9                                    Plaintiff, ORDER GRANTING JOINT
                                                 MOTION FOR DISMISSAL WITH
10                v.                             PREJUDICE
11
12   DR. JOHN CHOW, PHYSICIAN &
     SURGEON; DR. D. ROBERTS,
13   CHIEF MEDICAL EXECUTIVE;
     SGT. M. ARTEGA,
14   CORRECTIONAL SERGEANT,
15                                 Defendants
16
          Having considered the Parties’ Joint Motion for Dismissal with Prejudice (the
17
     “Joint Motion”), the Court rules as follows:
18
          The Joint Motion is GRANTED. The entire action is dismissed with
19
     prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party
20
     shall bear their own costs and attorneys’ fees.
21
          IT IS SO ORDERED.
22
23   DATED:
                                                     United States District Judge
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25
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27
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                                                1
                                       Order Granting Joint Motion for Dismissal with Prejudice
Case 3:19-cv-02257-JAH-KSC Document 37 Filed 12/24/21 PageID.210 Page 4 of 4




                             CERTIFICATE OF SERVICE

Case          Earl Haynes v. Chau, et al.           No. 3:19-cv-02257-JAH-KSC
Name:

I hereby certify that on December 24, 2021, I electronically filed the following
documents with the Clerk of the Court by using the CM/ECF system:
JOINT MOTION FOR DISMISSAL; PROPOSED ORDER
Participants in the case who are registered CM/ECF users will be served by the CM/ECF
system.
I am employed in the Office of the Attorney General, which is the office of a member of
the California State Bar at which member's direction this service is made. I am 18 years
of age or older and not a party to this matter. I am familiar with the business practice at
the Office of the Attorney General for collection and processing of correspondence for
mailing with the United States Postal Service. In accordance with that practice,
correspondence placed in the internal mail collection system at the Office of the Attorney
General is deposited with the United States Postal Service with postage thereon fully
prepaid that same day in the ordinary course of business.
I further certify that some of the participants in the case are not registered CM/ECF users.
On December 24, 2021, I have caused to be mailed in the Office of the Attorney
General's internal mail system, the foregoing document(s) by First-Class Mail, postage
prepaid, or have dispatched it to a third party commercial carrier for delivery within three
(3) calendar days to the following non-CM/ECF participants:

Earl Eugene Haynes, H-23481
Richard J. Donovan Correctional Facility
480 Alta Road
San Diego, CA 92179
Plaintiff in Pro Per

I declare under penalty of perjury under the laws of the State of California and the United
States of America the foregoing is true and correct and that this declaration was executed
on December 24, 2021, at San Diego, California.


             A. Dotson
             Declarant                                        Signature

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